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April 8, 2025



Via ECF

Clifton Cislak
Clerk of the Court
U.S. Court of Appeals for the D.C. Circuit
333 Constitution Ave N.W.
Washington, D.C. 20001

         Re:        United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
                    Industrial and Service Workers International Union, AFL-CIO et al. v. EPA,
                    Consolidated Case Nos. 24-1151, 24-1182, 24-1185, 24-1202, 24-1237

Dear Clerk Cislak:

         Industry Petitioners and Petitioner-Intervenors write to request that the Court take notice
of its recent order granting abeyance in a rulemaking case in light of its relevance to the United
States Environmental Protection Agency’s (EPA’s) request for an abeyance of these consolidated
cases in nearly identical circumstances.

        On April 1, 2025, the Court issued an order in the matter of California Communities
Against Toxics, et al., v. Environmental Protection Agency, Nos. 24-1178, 24-1180 (“CAA
Matter”), holding the matter in abeyance just a few weeks before oral argument was scheduled to
occur, and directing Respondents to file status reports to the Court every 90 days (“CAA Abeyance
Order”). The CAA Abeyance Order was issued in response to a motion by EPA in which it
requested remand and abeyance to allow the agency to “revisit and reconsider” its interpretations
from a 2024 rulemaking setting new emission standards for commercial sterilization facilities
under the Clean Air Act. EPA stated that this reconsideration would involve “initiating notice-and-
comment rulemaking as soon as possible” and publishing a final rule by March 2026.

         EPA’s request for an abeyance in the CAA Matter mirrors its request in these consolidated
cases. Specifically, in EPA’s Motion for Voluntary Remand and Renewed Motion to Hold Case
in Abeyance, EPA explicitly stated its intent to revisit and reconsider the 2024 Risk Framework
Rule by initiating notice-and-comment rulemaking, starting in June 2025. Doc. No. 2106629. This
request was supported by Industry Petitioners and Petitioner-Intervenors, who acknowledged, both
in writing and during oral argument, that reevaluation of rulemaking is an accepted and appropriate
justification for an abeyance when the agency seeks to revisit and reconsider its prior
interpretations in good-faith. This position is now further supported by the Court’s recent CAA
Abeyance Order.



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April 8, 2025
Page 2

       Accordingly, Industry Petitioners and Petitioner-Intervenors respectfully request that the
Court consider the CAA Abeyance Order when deciding on EPA’s request for abeyance in these
consolidated cases.

Sincerely yours,

HOLLAND & KNIGHT LLP




Rafe Petersen




Cc:     Counsel of Record, via ECF
        Meaghan Colligan Hembree




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